
ROBERTS, J.,
specially concurring:
¶ 16. While I concur with the majority’s resolution of the issues in this case, I write separately to express my disdain over the often-used characterization of an appellate court’s role when reviewing the weight of the evidence — namely our self-assigned role of the “thirteenth juror.” It is a moniker I could not disagree with more.
¶ 17. My review of this state’s jurisprudence on the matter shows that the first appearance of “thirteenth juror” used by a Mississippi appellate court in the context of an appellate court’s role in a review of the weight of the evidence was in McQueen v. State, 423 So.2d 800 (Miss.1982). In McQueen, the Mississippi Supreme Court quoted a lengthy passage from Tibbs v. Florida, 457 U.S. 31, 102 S.Ct. 2211, 72 L.Ed.2d 652 (1982), in which the United States Supreme Court discussed the procedural consequences and differences between reversing a conviction based upon insufficiency of the evidence and the weight of the evidence. McQueen, 423 So.2d at 803-04 (quoting Tibbs, 457 U.S. at 41-45, 102 S.Ct. 2211). In so doing, the Supreme Court stated that “[a] reversal [based upon the weight of the evidence], unlike a reversal based on insufficient evidence, does not mean that acquittal was the only proper verdict. Instead, the appellate court sits as a ‘thirteenth juror’ and disagrees with the jury’s resolution of the conflicting testimony.” Tibbs, 457 U.S. at 42, 102 S.Ct. 2211. Post McQueen, the phrase was bounced around in the opinions of the supreme court, and later, this Court, before ultimately settling as a favorable description of an appellate court’s role. But the Supreme Court never used the phrase “thirteenth juror” again.
¶ 18. Nine years after McQueen was handed down, the supreme court again used the phrase. However, this time it was much less favorable and tended to disagree with Tibbs. The supreme court stated: “The appellate court’s role is to see that there is a fair trial given to both sides. We are not result oriented. The [supreme court] will not be the thirteenth juror.” Walker v. Graham, 582 So.2d 431, 433 (Miss.1991). This sentiment was continued over the next several years as “thirteenth juror” was singularly used in a number of dissents in a negative connotation describing the role the dissenting author believed the majority was incorrectly filling. See Crain v. Cleveland Lodge 1532, Order of Moose, Inc., 641 So.2d 1186, 1193 (Miss.1994) (McRae, J., dissenting); Lloyd Wood Constr. Co., Inc. v. Little, 623 So.2d 968, 974 (Miss.1993) (McRae, J., dissenting); Stonecipher v. Kornhaus, 623 So.2d 955, 967-68 (Miss.1993) (McRae, J., dissenting); New Hampshire Ins. Co. v. Sid Smith &amp; Assocs., Inc., 610 So.2d 340, 348 (Miss.1992) (McRae, J., dissenting); State Highway Comm’n of Miss. v. Hyman, 592 So.2d 952, 958 (Miss.1991) (McRae, J., dissenting).
¶ 19. Then, in Allen v. State, 749 So.2d 1152, 1159 (¶ 19) (Miss.Ct.App.1999), this Court, reciting the standard of review utilized when reviewing a denial of a motion for a new trial, stated that: “It has been said that on a motion for new trial the [trial] court sits as a thirteenth juror. The motion, however, is addressed to the discretion of the [trial] court....” This language and standard, implying that the trial court is the theoretical “thirteenth juror,” was echoed time and time again.
*531¶ 20. This all led us to the current use of the term as first penned in Bush v. State, 895 So.2d 836 (Miss.2005). There the supreme court quoted Amiker v. Drugs For Less, Inc., 796 So.2d 942 (Miss.2000) and stated: “[On a motion for a new trial] the court sits as a thirteenth juror. The motion, however, is addressed to the discretion of the court, which should be exercised with caution, and the power to grant a new trial should be invoked only in exceptional cases in which the evidence preponderates heavily against the verdict.” Bush, 895 So.2d at 844 (¶ 18). This passage was interpreted for the proposition that “when the trial court (and subsequently the appellate court) reviews a verdict that is alleged to be against the overwhelming weight of the evidence, this presents a distinctive situation which necessitates the court sitting as a 'thirteenth juror.’ ” Id. at 844 n. 2. The Bush court, labeling itself as a “thirteenth juror,” then resolved the issue of whether Kanynne Jamol Bush’s conviction was supported by the weight of the evidence by beginning its conclusion with “[slitting as a limited ‘thirteenth juror’ in this case....” Id. at (¶ 19). But Amiker simply does not mandate or otherwise suggest that it is proper for an appellate court to sit, review the evidence, and make a judgment call of credibility and other matters germane to the role of a juror.
¶ 21. In Amiker, the central issue was whether a successor judge could vacate his predecessor’s order granting a new trial. Amiker, 796 So.2d at 946 (¶ 8). In arriving at the conclusion, the supreme court in Amiker stated:
It has long been recognized that the trial judge is in the best position to view the trial. “The trial judge who hears the witnesses live, observes their demeanor and in general smells the smoke of the battle is by his very position far better equipped to make findings of fact which will have the reliability that we need and desire.” Gavin v. State, 473 So.2d 952, 955 (Miss.1985). Using a cold, printed record of a case, if that, a successor judge sits in an inferior position to the judge who presided over the trial of the case.
Id. at 947 (¶ 16). Further, it was identified that:
If we allowed a successor judge to change a decision granting a new trial, we would invest power in one in no better position than this Court to do what this Court does not do. This Court justifiably refuses to review grants of a new trial based in part on the superior position of the trial court to decide such matters. Dorr v. Watson, 28 Miss. 383, 395 (1854) (“The granting a new trial rests in a great measure upon the sound discretion of the court below, to be exercised under all the circumstances of the case with reference to settled legal rules as well as the justice of the particular case. If a new trial be refused, a strong case must be shown to authorize the appellate court to say that it was error; and so, if it be granted, it must be manifest that it was improperly granted.”). See also Rayner v. Lindsey, 243 Miss. 824, 832-33, 138 So.2d 902, 905-06 (1962). Surely, a successor trial judge is in no better position than this Court.
Id. at 948 (¶ 21). I do not find these pronouncements can form the basis for the establishment of an appellate court as a “thirteenth juror” when reviewing the denials of motions for a new trial as surmised in Bush and utilized in the litany of cases following it (including cases from this Court — some even authored by myself). In fact, Amiker successfully pleads the case for the alternative and only reestab*532lishes that it is the trial court alone that can fill the role of “thirteenth juror.”
¶ 22. The role of an appellate court when reviewing the denial of a motion for a new trial is, simply stated, to determine whether the trial court abused its discretion in doing so. Sheffield v. State, 749 So.2d 123, 127 (¶ 16) (Miss.1999). This is so for the exact reasons expounded in Am-iker. It is the trial judge who sits and observes the evidence and witnesses’ demeanor throughout the trial; who hears the witnesses’ testimonies; and who, ultimately, is the closest thing a trial has to a “thirteenth juror.” That title and point of view are simply inappropriate for an appellate court armed only with “a cold, printed record of a case.”
¶ 23. My last point goes to the realistic ramifications of a reversal by an appellate court of a trial court’s denial of a motion for a new trial. As touched upon in Justice White’s dissent in Tibbs, given an appellate court’s reversal on the weight of the evidence, “[t]he defendant has already demonstrated that a conviction based on the State’s case, as so far developed, is ‘against the weight of the evidence.’ ” Tibbs, 457 U.S. at 50, 102 S.Ct. 2211 (White, J., dissenting). Therefore, the State and trial court are put in a precarious situation on remand. Assuming the State chooses to prosecute again, with no better or worse evidence at its disposal, and the defense does not make any substantive changes in its presentation of evidence or trial strategy, and the same result occurs, by the “rule of the case”, the trial court is all but required to grant a second new trial. If not, when the defendant appeals his conviction arguing that the weight of the evidence is not sufficient and, of course, cites the reversal of his previous conviction as authority, an appellate court would similarly have no choice but to reverse and remand once more or be guilty of intellectual dishonesty.
¶ 24. The majority in Tibbs argues otherwise stating in response to Justice White’s dissent that:
Although reversal of a first conviction based on sharply conflicting testimony may serve the interests of justice, reversal of a second conviction based on the same evidence may not.... While the interests of justice may require an appellate court to sit once as a thirteenth juror, that standard does not compel the court to repeat the role.
Tibbs, 457 U.S. at 43 n. 18, 102 S.Ct. 2211. However, in my opinion, this line of reasoning does nothing more than muddle and dilute the standard of review that an appellate court must apply. If there have been no substantive changes from one trial to the next and the same outcome is reached by a second jury, a failure on an appellate court’s part to, once again, remand the case for a new trial can be viewed as nothing more than arbitrary and capricious. Quite clearly, all other things equal, if the weight of the evidence would not support a finding of guilt after the first conviction, the same evidence, when presented during subsequent trials, must still be deemed inadequate to support a conviction. Contrary to the statement quoted from Tibbs above, our role as an appellate court does not change.
¶ 25. Therefore, I respectfully suggest to the members of our appellate judiciary that we are not, and can never be, the hypothetical “thirteenth juror.” The closest judicial entity identifiable as a possible “thirteenth juror” must be the trial judge. When we review a claim on appeal that the verdict is contrary to the weight of the evidence, we simply determine based upon the cold record whether the trial judge *533abused his discretion. Nothing more, nothing less.
GRIFFIS AND MAXWELL, JJ., JOIN THIS OPINION.
